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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   4:15CR3114

       vs.
                                                                      ORDER
ALEXANDER CASTELLANO-BENITEZ,

                      Defendants.

       Defendant has moved to continue the pretrial motion deadline, (Filing No. 52), because
the defendant and defense counsel need additional time to fully review the discovery received
before deciding if pretrial motions should be filed. He also moves to continue his change of plea
hearing. (Filing No. 53). Both motions are unopposed.

       But the court does not understand, and the defendant has not explained, why a change of
plea hearing should be set when the defendant is still investigating the facts and considering
whether to file pretrial motions. Based on the showing set forth in the motions, the court finds
the motion to continue the pretrial motion deadline should be granted, but the change of plea
hearing should be cancelled. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (Filing No. 52), is granted.

       2)     Defendant’s motion to continue the change of plea hearing, (Filing No. 53), is
              granted in part. The change of plea hearing is cancelled.

       3)     As to both defendants, pretrial motions and briefs shall be filed on or before
              March 9, 2016.

       4)     As to both defendants, trial of this case is continued pending resolution of any
              pretrial motions filed.

       5)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendant in a speedy trial, and as to both
              defendants, the additional time arising as a result of the granting of the motion,
              the time between today’s date and March 9, 2016, shall be deemed excludable
              time in any computation of time under the requirements of the Speedy Trial Act,
              because despite counsel’s due diligence, additional time is needed to adequately
              prepare this case for trial and failing to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       February 3, 2016.                            BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
